









Dismissed and Memorandum Opinion filed March 24, 2005









Dismissed and Memorandum Opinion filed March 24, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01200-CV

____________

&nbsp;

DIANA R. HAUN,
Appellant

&nbsp;

V.

&nbsp;

ST. LUKE=S EPISCOPAL HOSPITAL,
Appellee

&nbsp;



&nbsp;

On Appeal from the
113th District Court

Harris County, Texas

Trial Court Cause No.
04-23607

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed November 8,
2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On February 22, 2005, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed March 24, 2005.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





